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                                   STATEMENT OF FACTS

       Your affiant, Ian Myers, is a Special Agent with the Federal Bureau of Investigations
(“FBI”). As a Special Agent with the FBI, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detention, investigation, or prosecution of violations of
Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, between 1:00
p.m. and 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
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        Beginning, on or about January 11, 2021, the Whitehall Ohio Police Department crime and
intelligence analyst sent a tip to the FBI intake unit identifying TROY ELBERT FAULKNER
(“FAULKNER”) after observing a video of FAULKNER on the U.S. Capitol grounds unlawfully
kicking in and breaking a window at the U.S. Capitol. This identification was based on prior
contact law enforcement officers had with FAULKNER.

        Additionally, on or about January 12, 2021, a fellow law enforcement officer and your
affiant identified and reviewed several videos showing footage of the aforementioned events that
occurred on January 6, 2021. During the review of these videos, your affiant observed an unknown
male, later identified as FAULKNER, unlawfully kicking in and breaking a window at the U.S.
Capitol. During the review of these videos, your affiant observed FAULKNER in publicly
available video obtained through Youtube that showed video of the incident at the U.S. Capitol on
January 6, 2021. In the video, before jumping up on a ledge to kick in the window, FAULKNER
could be seen facing away from the camera with his back turned. On the back of his jacket, there
is the name of a company “FAULKNER PAINTING” and the telephone number “XXX-XXX-
6985.” Your affiant was able to confirm through the Ohio Secretary of State’s website that
FAULKNER did own a painting business in his name consistent with the company’s logo on the
back of the jacket.

        On January 13, 2021, on a recorded call to the FBI National Threat Operations Center
hotline, an individual identifying himself as TROY FAULKNER, called the FBI hotline to report
his destruction of the U.S. Capitol’s shutter in Washington, D.C. FAULKNER gave his date of
birth as XX/XX/1981, and his cellular phone number as XXX-XXX-6985. Your affiant notes that
the number provided by the individual identifying himself as FAULKNER is the same number
that was seen on the back of the coat of the individual identified as FAULKNER in the above-
referenced video, as well as the phone number on a publicly available Facebook page with the
username of “Troy Faulkner.”

       On January 19, 2021, your affiant spoke with an officer from the Whitehall Ohio Police
Department. This officer stated to your affiant that he had arrested FAULKNER in the past and
confirmed that he reviewed the below still images and that the individual seen kicking in part of a
window at the U. S. Capitol building was FAULKNER. This officer stated to your affiant that he
was certain of this identification.

        Furthermore, your affiant reviewed photos on a publicly available Facebook page for an
individual with the username “Troy Faulkner,” and observed an individual that closely resembles
FAULKNER’s Ohio BMV picture. In addition, a picture of an image with a tan background and
the words “Faulkner Painting” and the phone number “XXX-XXX-6985” are posted on this
Facebook page. The image, colors and wording in the Facebook image are identical to the tan coat
that the individual in the video damaging the U.S. Capitol was wearing as noted below and
identified as FAULKNER.
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        The screenshots below, which are derived from the above-mentioned video, shows
FAULKNER wearing his jacket with the name of his company “FAULKNER PAINTING” and
the telephone number “XXX-XXX-6985” on it and a comment to FAULKNER regarding wearing
his company’s jacket during an “insurrection.”
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       A nearly identical picture of the jacket can be seen on the Facebook page that appears to
be associated with FAULKNER at https://www.facebook.com/troy.faulkner.50

       The image below is a picture from this Facebook page:
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        Moreover, on January 11, 2021, a Whitehall Ohio Police Department crime intelligence
analyst sent to the FBI a captured public Facebook exchange between FAULKNER and another
individual. An individual wrote, “Both sides are ignorant for fighting with eachother.”
FAULKNER replied, “[the individual] we weren’t fighting against antifa we’re fighting against
the government” and “We took it to there front door unlike the p****ass BLM.”
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        Further, your affiant has reviewed a news article posted on Patch.com on January 14, 2021,
which quoted FAULKNER via text message who said, “It seemed the cops were antagonizing us
and letting them straight into the building in the front so I believe it was all set up for the Trump
people,” he said. “I knew I shouldn’t have kicked in the window. I was upset and wasn’t thinking
rationally.” A screen shot of FAULKNER kicking in the window is at the top of the news article.
This news article can still be viewed at - https://patch.com/ohio/columbus/s/hdvoa/ohio-man-
joins-raid-u-s-capitol-i-shouldn-t-have-kicked-
window?utm_source=flipboard&utm_medium=rss&utm_term=community+corner&utm_campai
gn=recirc&utm_content=flipboard

     Based on the foregoing, your affiant submits there is probable cause to believe that
FAULKNER violated 18 U.S.C. § 1361, by willfully injuring or committing any depredation
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against government property, or attempt to do so. The window of the Capitol building is property
of the United States and the cost to repair the window was more than $1,000.

        Your affiant submits there is also probable cause to believe that FAULKNER violated 18
U.S.C. § 1512(c)(2), which makes it unlawful to corruptly obstruct, influence or impede any
official proceeding, or attempt to do so. Congressional proceedings are official proceedings under
18 U.S.C. § 1515(1)(B).

        Your affiant submits that there is probable cause to believe that FAULKNER violated 18
U.S.C. § 1752(a)(1), (2), and (4) which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do; and (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; and (4) knowingly engages in any act of physical violence against
any person or property in any restricted building or grounds; or attempts or conspires to do so. For
purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or
otherwise restricted area of a building or grounds where the President or other person protected by
the Secret Service, including the Vice President, is or will be temporarily visiting; or any building
or grounds so restricted in conjunction with an event designated as a special event of national
significance.

        Your affiant submits there is also probable cause to believe that FAULKNER violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      SPECIAL AGENT IAN MEYERS
                                                      FEDERAL BEREAU OF
                                                      INVESTIGATION


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 26th day of January 2021.
                                                                            G. Michael Harvey
                                                                            2021.01.26
                                                                            23:20:25 -05'00'
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
